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                    UNITED STATES COURT OF APPEALS

                           FOR THE NINTH CIRCUIT



  JASON WOLFORD; ALISON                            No. 23-16094
  WOLFORD; ATOM KASPRZYCKI; and
  HAWAII FIREARMS COALITION,
                                                   STIPULATED MOTION TO
                     Plaintiffs-Appellees,         VOLUNTARILY DISMISS
            v.                                     APPEAL

  ANNE E. LOPEZ, in her official capacity
  as the Attorney General of the State of
  Hawai‘i,

                     Defendant-Appellant.



      Pursuant to Federal Rule of Appellate Procedure 42(b)(1), all parties hereby

move the Court for an order dismissing the above-captioned appeal.

      The parties have agreed that each side shall bear its own costs and fees on appeal.


      DATED: Brooklyn, New York, September 7, 2023.

                                               /s/ Ben Gifford

                                               BEN GIFFORD
                                                Special Deputy Attorney General
                                               Institute for Constitutional
                                                Advocacy & Protection
                                               Georgetown University Law Center
                                               PO Box 211178
   Case: 23-16094, 09/07/2023, ID: 12788364, DktEntry: 8, Page 2 of 2



                                        Brooklyn, NY 11221
                                        Tel.: (202) 662-9835
                                        Email: bg720@georgetown.edu

                                        Attorney for Defendant-Appellant
                                        Anne E. Lopez, in her official
                                        capacity as the Attorney General of
                                        the State of Hawai‘i


DATED: Honolulu, Hawai‘i, September 7, 2023.

                                        /s/ Kevin O’Grady

                                        KEVIN GERARD O’GRADY
                                        Law Office of Kevin O’Grady, LLC
                                        1164 Bishop Street
                                        Suite 1605
                                        Honolulu, Hawai‘i 96813
                                        Tel.: (808) 521-3367
                                        Email: Kevin@KevinOGradyLaw.com

                                        Attorney for Plaintiffs Jason
                                        Wolford, Alison Wolford, Atom
                                        Kasprzycki, and Hawaii Firearms
                                        Coalition
